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                           US Army Corps .

                           ~f Engineers

                           .Memphis District
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                              BIRDS POINT
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                                          - NEW MADR.ID·                                                  .
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                                                             .OPERATIONS


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                                                                                                                  PLAN


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                                        u. S. ARl1Y
                         CORPS	 OF ENGINEERS/MEMPHIS DISTRICT
                                    .JANUARY 1986
       TITLE:    Birds Point - New Madrid Floodway Operations Plan
       OPLAN 1 (ANNEX R - HDR 500-1-1, EMERGENCY EMPLOYMENT OF ARMY AND
       OTHER RESOURCES)
       I.   Situation.
           A. General-This plan of operation. provides for operational
       readineSs of the Birds Point - New Madrid Floodway. It is the
       intent that operation occur only as absolutely essential to
       provide the authorized protection to all citizens.
            B.   Authority:
               1. Lega~ Authority. Flood Control Act' of 1928, 45
       Stat, 534; Flood Control Act of '1965, 79 stat. 1076.
               2. Operational Intent.         House Document
                                                      ,	
                                                                 No.
                                                                 .
                                                                       308, 88th
       Congress,	 2nd Session, page 58:                           '




                  "a. That the Floodway normally will not be placed in
       operation until flood heights in excess of 60 feet on the Cairo
       gage are predicted.
                   b.That the Federal Government reserves the right
       to ensure proper functioning of-the Floodway by creation of
       artificial crevasses in the fuseplug"levee or elsewhere when
       stages are at or above 58 f~et on the Cairo gage."
            C•. Operational Responsibility.
               1.   H~mRhl~ nis~~lct.     The Memphis District is
       responsible for preparation and execution of the Birds Point ­
       New Madrid Floodway Plan of Operation upon order of the
       President, Mississippi River Commission (MRC).
               2. State of ,MisSQU r i. . The Sfate of l>1issour i wIll be
       responsible -for warning, evacuation and rescue of the occupants
       of the floodway, traffic control,'control of access into the
       floodway area, and any necessary law enforcement (See Annex D).
               3.   waterways Experiment Station. (WES). Personnel
       trained in explosive technology will ~e made available by WES to
       assist the Memphis District- in the explosive demolition of the
       crevasse sections 'of the Birds Point-New Madrid Floodway
       frontline levee. Notification of need for WES personnel will be
       made by the Memphis District Emergency Operations staff after
       notification to begin operati~n has been ordered by the
       President, MRC.                   ~
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                4. Coast Guard. The Coast Guard will, when necessary,
       assist the Corps ox Engineers (CE) and constituted authorities
       in evacuation, rescue and relief operations. As soon as the
       decision is made to place· the floodway into operation, the Coast
       Guard will be notified by the Chief, River Operations Branch,
       Memphis District, so that river traffic can be advised and
       controlled.
       II.'    Execution.
           A. Concept of Operations. On recommendation of the Memphis
       District Commander and order of the President, MRC, the Memphis
       District will dispatch a tow from Ensley Engineer Yard with
       material, equipment and personnel to place the Floodway into
       operation. Work crews will be deployed on top of the levee to
       locate and prepare-the access wells to the 'pre-emplaced
       horizontal pipes. The slurry explosives will be mixed on the
       barge and pumped from the barge into the pipes.           After
       completion of the pumping operation, and when deemed necessary,
       the pipes will be armed with booster charges ahd all fin~l
       preparations will be made for artificial crevassing. It is
       expected that natural overtopping of the fuseplug section will be
       allowed to occur prior to determining the necessity to
       artificially crevasse the frontline levee. Upon' order of the
       Pres ident, MRC, crevasses will be accompl ished as required by
       hydrologic conditions.            .
           B. Timetab~e.. The timetable for operation is based on the
       rate of rise from the project design flood (PDF) curve. A
       faster rate of rise or other emergency situation would
       necessitate expediting the preparation of the Floodway.
       Conversely, if the rate of rise is slower than expected during
       the PDF, additional prepar:ation time will be available. (See
       Annex B)                       I



              C.   Sequence Qf Operations:
                1. Dispatch equipment, material, and personnel, from
        Memphis, TN. Upon arrival and issuance of competent order begin
        preparing Inflow 'Crevasse (will require approximately 15 hours).
                2. At approximatey 60 feet 'on the Cairo gage, the
        Inflow Crevasse will have been completely prepared for
        operation.
                3. Preparation of the Inflow/Outflow Crevasses will
        require approximately 15 hour.s.
                 4. Arming shall not occur until is is absolutely
       . necessary for execution of the crevasse.
                5. Artificial crevassing will be upon order of the
        President, I1RC.

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           D. Coordinating Instructions. This plan will be reviewed
       annually by the Memphis District staff and updated by Emergency
       Operations Branc~. Any changes will be submitted to MRC for
       approval.	                         .
       III.   Administration and Logistics.
              Annex C, Logistics

              Annex D, state Support

              Annex F, Public Affairs





       OFFICIAL:	                              DALE F. MEANS

                                               Coloneli Corps of Engineers

                                               Commanding



     /'~~.~~
     KENNETH G. WILLIAMS

       Emergency Operations Manager

       ANNEXES:	      A - Concept of Operation

                    B -   Timetable

                    . C - Logistics

                      D - State Support

                      E - Safety

                      F - Publ ie Affairs

                      G - Communications





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                                                                      BIRDS POINT
                                                                      NEW MADRID
                                                                      FLOODWAY




                                                               TN

                                                        MISSISSIPPI RIVER AND TRIBUTARIES
                                                         PLAN OF OPERATION FOR THE
                                                          BIRDS POINT":"'NEW MADRID
                                                                FLOODWAY
                                                                  VICINITY MAP
                                                             DEPARTMENT OF THE ARMY
                                                      ME:MPt-IIS DISTRICT •.PORPS OF ENGINEERS
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     INFLOW/O~FLO},\




                                                         MISSISSIPPI RIVER AND        TRI~UTAR1ES

                                                           PLAN OF OPERATION FOR THE
                                                        BIRDS POINT-NEW MADRID FI.OOOWAY




                                                              DEPARTMENT OF THE ARMY
                                                         MEMPHIS DISTR1CT,CORPS OF ENGINEERS.
                                                       - ".      MEMPHIS I TENNESSEE -
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       ANNEX A (CONCEPT OF OPERATION) to the Birds Point-New Madrid
       Floodway Operations Plan

       1. Upon order of Commander, Memphis District, all equipment and
       materials will be loaded on 2 modified mat barges and one
       equipment barge. Each mat barge will be loaded with 192 barrels
       of aluminum powder (4 barrels per pallet), six 2,500 gallon
       fiberglass tanks.of the liquid component, two mix-pump units
       (MPUs) with protective covering, and two forklifts with rotating
       heads and accessories. Two dozers and two backhoes will be loaded
       on the equipment barge. These barges~ along with one empty barge,
       the M/V strong, Tender Goodwin and M/V Mississippi will be made
       up in a tow ready to depart for the Floodway.
       2. On the recommendation of the Commander, Memphis District,
       and order of the President, MRC, the tow will depart Ensley
       Engineer Yard, Memphis Harbor for the Floodway. All required
       operational personnel not on the tow will meet the tow at the
       Inflow Crevasse. Upon arrival of the tow atthe.Floodway, the
       M/V Mississippi will be utilized as the Command Post.
       3. On order of the President, MRC, the' preparation of the Inflow
       Crevasse will begin. One tow boat will push the equipment barge
       into the levee and deploy a work crew and two backhoes on top·of
       the levee. The ~ork crew will locate and prepare the access
       wells to the pre-emplaced horizontal pipes by removlng the
       material over and inside the well and installing quick couple
       fittings on the 4 inch pipes.
        4. The Strong and Goodwin will each push a mat barge (described
        in paragraph I) into the levee. The barge will be stationed
      . parallel to the levee and adjacent to 2 access wells which are
        spaced 60 feet apart (See Plate A-I). Two gang planks will be
        extended from the barge to the top of 'the levee. Hoses will
        extend from the discharges on the MPU's , across the gang planks,
        and'into the access wells. At this point, the MPU's will be
        loaded with aluminum powder with the solution being fed directly
        from the 2500 gallon tanks.' Two forklifts will be used to load
        the aluminum powder into the hopper on the MPU's. The MPU's will
        properly mix the components and pump the blasting agent into the
        pipes in 'the levee.  From one location approximately 2000 feet
        of levee can be prepared for operation.. This procedure will be
        repeated at approximately 2000 foot intervals.
       5. Following the completion of the mixing and pumping of the
       blasting agent, WES explosive technicians will prime both ends
       of the 4 inch pipe with a booster charge and make all other
       necessary preparations for firing of charges in the Inflow
       Crevasse •. Detonation of the Inflow Crevasse will be in 1000
       foot sections as required by hydrologic conditions and on order
       of the president, MRC.
       6.   Following preparation 'of the Inflow Crevasse. the
       Inflow/Outflo'i'1Crevasses will be" prepared for oper'ation. One.



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       boat and barge will be designated to prepare each crevasse. Both
       Inflow/Outflow No. 1 and No.2 will be artificially crevassed in
       1000 foot increments, as required by hydrologic conditions.




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                                                                                                                 MISSISSIPPI RIVER AND TRIBUTARIES
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                                                                                                                    PLAN OF OPERATION FOR THE
                                                                             0:                                  BIROS POINT-NEW MADRID FLOODWAY
                                                                             UJ
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                                                                                                 ­
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                                                                       ','   f­                                   BARGE 'CONFIGURATION

                                                                                                                     OE?A~TMENT,OF THE ARMY
                                                                                                                 MEMPHiS OISTRICT,CORPS'OF ENGINEERS
                                                                                                                         MEMPHIS, TENNESSEE,
                                                                                                                                              01   1\'"T"r.:-'      ,.   ,
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       ANNEX B (TIMETABLE) to the Birds Point-New Madrid               Flood~ay
       Operations -Plan
       Cairo     ~

       1.   Atapproxirnately 56 feet.
           a. Tow loaded -with equipment (including mix-pump units),
       materials, (including components of blasting agent), _and
       personnel departs Ensley Engineer Yard for the Floodway. (Travel
       time approximately 36 hours)                         ­
          b. Advise Director pf Public Safety of the state of Missouri
       and presiding 'commi~sioners, :Mississippi-and New Madrid
       Counties, State of Missouri of action.
        2•. At approximately 59 feet.
            a.   Tow arrives at the Floodway.
           b. Upon order of the President, MRC, deploy:vork crew on
       Inflow Crevasse to prepare access wells.
            c.   Mix and pump blasting agent into pipes in levee.
            d.   Evacuate all equipment and. personnel from levee.
            e. Prime pipes with booster charges' and-place detonating
        cord (as needed).
          f. Advise Director of Public Safety of the State of
       Missouri, and presiding commissioners, Mississippi and New Madrid
       Counties, State of Missouri of action.
        3. At .approximately 60 feet.
            a.   Inflow Crevasse completely prepared for:artificial
        crevassing,.   (Preparation of the Inflow Crevass.e requires
        approximately 15 hours.)­
            b. Advise Director of public Safety of the State of
        Missouri, and presiding commissioners, Mississippi and New Madrid
        Counties~ State of Missouri of action. -                  .
        4. Up~n order of the President, MRC, crevasses will be
        accomplished a~ required by hydrologic conditions.
        5. Preparation of the Inflow/Outflow Crevasses will follow the
        preparation of the Inflow Crevasse. Approximately 15 hours will
        be required for preparation of both of. the Inflow/Outflow
        Crevasses.
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      6." The Inflow/Outflow Crevasses will be artificially crevassed,
      after the Inflow Crevasse is crevassed, as required to maintain
      the project flowline •




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     ANNEX C (LOGISTICS)       to the Birds Point-New Madrid Floodway
     Operations Plan
     1.   Situation.     Same as basic plan.
     2. Mission. Memphis District will furnish all logistical .
     support for operational personnel.
     3.   Execution.
         a. Concept of Operation. Upon receipt of notification from
     the Breaching Commander to begin, Logistics Commander shall:
             (1) Request River Operations Branch make ready the
     towboats for the trip to the Birds Point-New Madrid Floodway.
             (2) Supervise the loading of the equipment and material
     onto barges.
             (3) Request Real Estate .to provide approx~~ately 2500
     square feet of suitable office space which can be used for a
     Press Center.
             (4)  Contact utility districts for necess.ary pm'l'er
     hookUps for the Press Center.
             (5)   Provide transportation for operational personnel if
     required.
         b.   ,Coordinating Instructions.     The Logistics Support
     Command shall fall under the direct supervision of the Logistics·
     Commander. He shall have sufficient personnel in the field for
     task accomplishment and also be in contact with the Floodway
     Coordinator for any anticipa~ed supplies that cannot be located
     locally. The Floodway Coordinator, located in the Memphis
     District EOC, shall. assist the Logistics Commander.
     4.   Service support.
         a. State support shall be coordinated by the Security
     Officer.
         b. Power hookups and purchase of· electricity to service the
     Press Center shall be from a local utility company.
          c. _Lodging:
             (1) The Command and Control organization shall be
     provided room and board on the M/V Mississippi.
             (2) The ba rge teams shall be pI aced on TDY and obtain
     lodging at a motel in the vicinity of the Floodway.
         d.  Personal clothing is the responsibility of the
     individual. Inclement weather clothing (rain suits) and safety


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      clothing (ha,~d hats, gloves)""shall be supplied by the Logistic-s.
      Commander.
          e. Gasoline, diesel and"aviation fuel shall be obtained
      from commercial sources in ·the· area, 'if required.
      5. COMMAND AND CONTROL.   Logistics Support Command shall be
      located on the M/VMississippi.   ­

      Appendix 1 - List of Required Major Equipment and Material

                                     .",   .




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       APPENDIX 1 (LIST OF REQUIRED MAJOR EQUIPMENT AND MATERIAL) to
      .ANNEX C (LOGISTICS) to the Biros Point-Newz.tadrid Floodway.
      Operations Plan                    ....
      1.   Equipment..
           l-~VV z,assissippi
           l-M/V Strong
           I-Tender Goodwin
           2-Hat Barges
           I-Equipment Barge
           4-Mix-Pump Units (MPU)
           4-Forklifts'and accessories
           2-Dozers
           4-Pickup Trucks
           2-Carryalls
           2-Vans
           2-Backhoes
      2.   Material.
         275-Tons of DBA-lOSP blasting agent
           36-4" X 2 1/2" reducers with high pressure clamps
         l50-High Explosive Boosters
      28,OOO-Feet of Detonating Cord
         . 25-Blasting Caps




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      ANNEX E (SAFETY) to the Birds Point-New Madrid Floodway
      operations Plan
      1. Mi~2iQ~ The Memphis District will assure that all
      operations during implementation of this plan' are conducted in a
      safe manner.
      2.   Execution.
           a.   Materials.
               (1) Blasting Agent DBA-lOSP. The DBA-IOSP is stored in
      a two component, unmixed form. The two components, aluminum
      powder and a solution, are nondetonable. During mixing
      operations, the aluminum powd,er can become suspended in the air
      and could, be ignited.    Although the aluminum powder is coated
      to help prevent combustion, the barges used for the mi~-pump
      operation will be designated as no smoking areas. Further, only
      diesel-powered
                 .
                      forklifts will be used for this operation.
                               ,


                (2)   Class A Explosives.           The WES Explosive "Technicians
      will be   r~sponsible ,for:

                  (a)  Handling theC'lass A Explosiv.es                    (caps,
      boosters, primacord).    '
                  (b) 'Loading,' ~rming and firing of 'the explosive
      charges will be in accordance with EM 385-1-1.
          b. Barg~ Operations. The barges used for the mixing and
      pumping operations will be equipped with a guard rail on the
      perimeter as specified in ~M ,385-1-1. All personnel working on
      the barge will be required to, wear personal' floatation devices.
                                     '0·"
          c. ~ Distances. Execution of the approved operational
      plan should take into account the following explosive hazard
      maximums:
           , (1) The distance away" from the crevasse sites beyond
      which no damage from airblast would be expected is 2000 feet.
              (2) The distance away from the .crevasse sites beyond
      which no damage from gr04ndmotion would be expected is 2300
      feet.
              (3) The safe distance. from flying debris would be less
      than the ,limits of possible damage from airblast or ground
      motion.           .
                (4)   For design purposes, a maximum hazard distance of
      2500 feet was used for each crevasse site.



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       ANNEX·F (PUBLIC AFFAIRS) to the Birds Point-'Ne\'l Hadr ia Floodway
       Operations Plan
       1.   Situation.   Same as basic plan.
       2. Mission. To insure that accurate and timely information is
       disseminated to media and interested pUblics.
       3. . Execution.
                (1) The Memphis District Public Affairs Office will be
       responsible for preparation and dissemination of news releases
       and announcements on the operation of the Floodway, following
       coordination with and approval of the Public Affai'rs Officer,
       MRC. News releases and announcements on the operation of the
       Fl09dwaywill also be coordinated with local and state
       authorities prior t~ release. The Memphis District public
       Affairs Officer (PAO) will also be responsible for photo
       documentation of the Floodway operation, and all audio-visual and
       photographic .support will be coordinated with the Public Affairs.
       Office.	                   .
               (2)' ,A 24-hour Press Center will be establ ished in the
       vicinity of the Floodway to serve as a field operating agent of
       the Memphis District Public Affairs Office. The District PAO
       will serve as a communications and coordination point for all
       public affairs activities.
               (3) The PAO or his representative will be responsible
      ,for	 providing assistance to news media representatives as
       requ~red, assisting and coordinating with representatives as
       required, assisting and coordinating with responsible Corps
       elements ·on public affairs matter., and for providirig other
       support as needed.
                (4) Media briefings will be scheduled as required.
       The Memphis District PAO will serve as the official' Corps of
       Engineers spokesman for all matters concerning the operation of
       the f 1oodway.
               (5)   A press kit will be prepared and made a v ai I able.
       The kit will include a fact sheet and map of .the floodway •.
               (6) The PAO will coordinate shuttle service for VIPs
       and news media personnel to work ·areas as required an~ as
       conditions and accessibility permit. Knowledgeable escorts will
       be provided as directed.                     .




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     ANNEX G (COMMUNICATIONS) to the Birds Point-New.Madrid Floodway
     Operations Plan
     1.   Situation.
         a. TheM/V Mississippi will serve as the Command Post for
     operation of the floodway.
         b. The M/V Mississippi and strong, and Tender Goodwin are
     equipped with all necessary communications equipment. "
     2. Mission. Memphis District Communications-Electronics (C-E) "
     Unit will install and maintain all communications systems in
     support of the floodway operations.
     3.   Execution.
         a. Following the establishment of the Press Center, the
     Memphis District C-E Unit will install radio communications
     equipment~  Telephone communications at the Press Center will be
     provided by commercial source. "              :;
        b. C-E Unit will provide continuing maintenance on all
     communications systems during preparation and operation of the
     floodway.                       ,"                     .     .

         c. All radio communications will be in accordance with MDR
     500-1-2.




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